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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,         §
                                     §
        Plaintiff,                   §         Case No:
                                     §
  vs.                                §         PATENT CASE
                                     §
  MICROLIFE USA, INC.,               §
                                     §
        Defendant.                   §
  __________________________________ §

                                    COMPLAINT

        Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this

  Complaint against Microlife USA, Inc. (“Defendant” or “Microlife”) for

  infringement of United States Patent No. 9,300,723 (the “‘723 Patent”).

                          PARTIES AND JURISDICTION

        1.     This is an action for patent infringement under Title 35 of the United

  States Code. Plaintiff is seeking injunctive relief as well as damages.

        2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

  (Federal Question) and 1338(a) (Patents) because this is a civil action for patent

  infringement arising under the United States patent statutes.

        3.     Plaintiff is a Texas limited liability company with an address of 1

  East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

        4.     On information and belief, Defendant is a Delaware corporation



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  with a principal place of business at 1617 Gulf to Bay Boulevard, 2nd Floor,

  Clearwater, FL 33755. On information and belief, Defendant may be served

  through its registered agent, Kevin Horan, at the same address.

        5.     This Court has personal jurisdiction over Defendant because

  Defendant has committed, and continues to commit, acts of infringement in this

  District, has conducted business in this District, and/or has engaged in

  continuous and systematic activities in this District.

        6.     Upon information and belief, Defendant’s instrumentalities that are

  alleged herein to infringe were and continue to be used, imported, offered for

  sale, and/or sold in this District.

                                        VENUE

        7.     On information and belief, venue is proper in this District under 28

  U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively,

  acts of infringement are occurring in this District and Defendant has a regular

  and established place of business in this District.

                            COUNT I
        (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.     This cause of action arises under the patent laws of the United States

  and, in particular, under 35 U.S.C. §§ 271, et seq.

        10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole


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  rights to enforce the ‘723 Patent and sue infringers.

        11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless

  communications,” is attached hereto as Exhibit A.

        12.    The ‘723 Patent is valid, enforceable, and was duly issued in full

  compliance with Title 35 of the United States Code.

        13.    Defendant has infringed and continues to infringe one or more

  claims, including at least Claim 1 of the ‘723 Patent by making, using, and/or

  selling media systems covered by one or more claims of the ‘723 Patent. For

  example, Defendant makes, uses, and/or sells the Microlife Connected Health+

  app, Microlife BP monitor, associated software, hardware and/or apps, and any

  similar products (“Product”). Defendant has infringed and continues to infringe

  the ‘723 Patent in violation of 35 U.S.C. § 271.

        14.    Regarding Claim 1, the Product is a media system. The Product

  includes a media system (e.g., health app) configured to allow a user to view a

  media file (e.g., health data) from a medical device by a media terminal (e.g.,

  smartphone) from a media node (e.g., medical device) over a communication

  network (e.g., Bluetooth network) through a communication link.             Certain

  aspects of this element are illustrated in the screenshots below and/or those

  provided in connection with other allegations herein.




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        15.   The Product includes at least one media terminal disposed in an

  accessible relation to at least one interactive computer network. For example,

  the Bluetooth network is used for sending health data from a media node

  (medical device) by detecting a smartphone (at least one media terminal) when

  the Product’s app is installed on the smartphone and connected with the

  Product’s media node through a Bluetooth network (i.e., the smartphone is in an

  accessible relationship with the interactive computer network). Certain aspects

  of this element are illustrated in the screenshots below and/or in those provided

  in connection with other allegations herein.


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        16.   A wireless range is structured to permit authorized access to the at

  least one interactive computer network. For example, the Bluetooth signals of

  the Product’s medical device (media node) have a range within which the

  smartphone (media terminal) may connect.

        17.   At least one media node is disposable within the wireless range,

  wherein the at least one media node is detectable by the at least one media

  terminal. For example, the Product’s medical device (media node) is detectable

  by the media terminal (smartphone). Certain aspects of this element are

  illustrated in the screenshots below and/or those provided in connection with

  other allegations herein.



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        18.    At least one digital media file is initially disposed on at least one of

  the at least one media terminal or the at least one media node and the at least one

  media terminal is structured to detect the at least one media node disposed

  within the wireless range. For example, the health data is initially disposed on

  the media node (medical device/monitor) and the media terminal can detect the

  medical device when it is within the appropriate range. Certain aspects of this

  element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




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         19.   A communication link is structured to dispose the at least one media

   terminal and the at least one media node in a communicative relation with one

   another via the at least one interactive computer network. For example, the

   smartphone and medical device are in a communicative relation over the

   Bluetooth network.

         20.   The communication link is initiated by the at least one media

   terminal. For example, when the user turns on Bluetooth on the smartphone

   (media terminal), the smartphone initiates the communication link.

         21.   The at least one media node and the at least one media terminal are

   structured to transmit the at least one digital media file therebetween via the


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   communication link. For example, the smartphone/app and the medical device

   are structured to transmit health data from the device to the smartphone over

   the wireless network.




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         22.    The communication link is structured to bypass at least one media

   terminal security measure for a limited permissible use of the communication

   link by the media node to only transferring the at least one digital media file to,

   and displaying the at least one digital media file on, the at least one media

   terminal. For example, the communication link is structured so that whenever

   the user installs the Product’s app on the smartphone (media terminal), the

   smartphone automatically connects (bypassing any security measures) with the

   Product’s medical device through Bluetooth code (i.e., media terminal security)

   whenever the smartphone comes to the range of the Bluetooth signals (for the

   limited purpose of transferring data form the device to the smartphone).




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         23.   Defendant’s actions complained of herein will continue unless

   Defendant is enjoined by this court.

         24.   Defendant’s actions complained of herein are causing irreparable

   harm and monetary damage to Plaintiff and will continue to do so unless and

   until Defendant is enjoined and restrained by this Court.

         25.   Plaintiff is in compliance with 35 U.S.C. § 287.

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff asks the Court to:

         (a)   Enter judgment for Plaintiff on this Complaint on all causes of action

   asserted herein;

         (b)   Enter an Order enjoining Defendant, its agents, officers, servants,

   employees, attorneys, and all persons in active concert or participation with

   Defendant who receive notice of the order from further infringement of United

   States Patent No. 9,300,723 (or, in the alternative, awarding Plaintiff running

   royalties from the time of judgment going forward);

         (c)   Award Plaintiff damages resulting from Defendant’s infringement

   in accordance with 35 U.S.C. § 284;

         (d)   Award Plaintiff pre-judgment and post-judgment interest and costs;

   and

         (e)   Award Plaintiff such further relief to which the Court finds Plaintiff



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   entitled under law or equity.



   Dated: October 22, 2021           Respectfully submitted,


                                     /s/Barbra A. Stern
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